Case 2:11-cr-02086-EFS   ECF No. 283   filed 10/24/12   PageID.1171 Page 1 of 6
Case 2:11-cr-02086-EFS   ECF No. 283   filed 10/24/12   PageID.1172 Page 2 of 6
Case 2:11-cr-02086-EFS   ECF No. 283   filed 10/24/12   PageID.1173 Page 3 of 6
Case 2:11-cr-02086-EFS   ECF No. 283   filed 10/24/12   PageID.1174 Page 4 of 6
Case 2:11-cr-02086-EFS   ECF No. 283   filed 10/24/12   PageID.1175 Page 5 of 6
Case 2:11-cr-02086-EFS   ECF No. 283   filed 10/24/12   PageID.1176 Page 6 of 6
